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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 24-cv-61873-WPD

   MAXIMUM MARKETING, INC., a for Profit Florida
   Corporation,

             Plaintiff,

   vs.

   REVIVA LABS, INC., a for Profit New Jersey
   Corporation, RENEE VIDAL, ESQ., and
   SENDAYCO, LLC,

         Defendants.
   _________________________________________/

         DEFENDANT, SENDAYCO, LLC’S, REPLY TO PLAINTIFF’S RESPONSE IN
         OPPOSITION TO MOTION TO DISMISS PLAINTIFF’S COMPLAINT AND
           MOTION TO STRIKE PLAINTIFF’S CLAIM FOR ATTORNEYS’ FEES

          Defendant, Sendayco, LLC (“Sendayco”) hereby files this Reply in Support of its Motion

  to Dismiss Plaintiff, Maximum Marketing, Inc.’s (“Maximum Marketing” or “Plaintiff”),

  Complaint and Motion to Strike Plaintiff’s Claim for Attorneys’ Fees, and in support, states as

  follows:

          In its Motion to Dismiss, Sendayco advanced several arguments as to why dismissal of

  Plaintiff’s claim was warranted, chief among them was that the Complaint does not, and cannot,

  allege any facts sufficient to establish either personal or general jurisdiction over Sendayco.

  Specifically, Sendayco argued that this Court lacks general jurisdiction over Sendayco, an Ohio

  company, due to Sendayco’s lack of contacts with Florida (supported by the affidavit of Sendayco’s

  president attached to Sendayco’s Motion to Dismiss as Exhibit A), and it lacks specific jurisdiction

  over Sendayco as no facts were pled supporting the notion that a tortious act took place in Florida,
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  and even if such facts were alleged, it is well established that a fraudulent transfer does not

  constitute a tortious act for purposes of Florida’s long-arm statute.

         In its Response in Opposition (the “Response”) [D.E. 13], Plaintiff spends over five pages

  regurgitating the factual allegations in the Complaint along with Plaintiff’s interpretations of the

  exhibits attached to the Complaint. Yet, missing entirely from Plaintiff’s Response is any argument

  that the Court has jurisdiction over Sendayco. Why? Because, Plaintiff admits “there is no basis

  for Personal Jurisdiction” and completely ignores any argument that there is general jurisdiction

  Response at 5. Accordingly, given Sendayco’s argument in favor of dismissal of Plaintiff’s

  Complaint, coupled with Plaintiff’s failure to refute the same, and even admitting to their

  correctness, necessitates the dismissal of Plaintiff’s Complaint, in its entirety, with prejudice.



                                                   Respectfully submitted,

                                                   KLUGER, KAPLAN, SILVERMAN,
                                                   KATZEN & LEVINE, P.L.
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                                                   By: /s/ Marko Cerenko
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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on November 7, 2024, a true and correct copy of the foregoing

  was filed with the Clerk of the Court using CM/ECF and served on all CM/ECF registered users

  identified in the service list.

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                                                and Renee Vidal, Esq.

                                            By: /s/ Marko Cerenko
                                                    Marko F. Cerenko, Esq.




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